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              In the United States Court of Federal Claims
                                        No. 07-562C
                                 (Filed September 14, 2007)
 ***********************                        *
                                                *
 ERINYS IRAQ LTD.,                              *   Contracts; pre-award bid protest;
                                                *   best value procurement;
                    Plaintiff,                  *   competitive range determination;
                                                *   unequal treatment; price realism
            v.                                  *   and reasonableness; prejudice.
                                                *
 THE UNITED STATES,                             *
                                                *
                     Defendant,                 *
                                                *
            and                                 *
                                                *
 AEGIS DEFENCE SERVICES LTD.,                   *
                                                *
                     Intervenor-Defendant.      *
                                                *
 ***********************                        *
     Robert S. Nichols, Washington, DC, for plaintiff. Angela B. Styles, Elizabeth W.
Newsom, Charlotte Gillingham, and Dane Swanson, Crowell & Moring LLP, of counsel.

      Steven M. Mager, Department of Justice, Washington, DC, with whom was Assistant
Attorney General Peter D. Keisler, for defendant. Maj. Christopher L. Krafcheck, U.S.
Army, Contract & Fiscal Law Division, of counsel.

      John S. Pachter, Vienna, VA, for intervenor-defendant Aegis Defence Services Ltd.
Richard C. Johnson, Johnathan D. Shaffer, and Mary Pat Gregory, Smith Pachter McWhorter
PLC, of counsel.

                    MEMORANDUM OPINION AND ORDER 1/

MILLER, Judge.


       1/ This opinion originally was filed under seal on August 29, 2007. By ¶ 2 the parties
were requested to notify the court of any redactions. All redactions requested are denoted by
brackets.
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        This pre-award bid protest filed by plaintiff Erinys Iraq Ltd. (“plaintiff”) is before the
court after argument on cross-motions for judgment on the administrative record, as
supplemented. Plaintiff seeks a declaratory judgment that the decision of the Joint
Contracting Command-Iraq/Afghanistan (the “agency” or “JCC-I/A”) to exclude plaintiff
from the competitive range for award of the Reconstruction Security Support Services
Contract (“RSSS Contract”) under Request for Proposals No. W91GXZ-07-R-0004 (the
“RFP”) was contrary to law and without rational basis. Plaintiff’s complaint presents four
counts upon which it seeks relief: the agency engaged in irrational price evaluation; the
agency engaged in unequal discussions with offerors; the agency engaged in irrational
evaluation of the non-price evaluation factors; and the agency engaged in unequal treatment
of plaintiff. Plaintiff seeks an order directing the JCC-I/A to reinstate plaintiff to the
competitive range, to conduct discussions with plaintiff, and to solicit another round of offers
for the RSSS Contract for evaluation.

                                PROCEDURAL HISTORY

       On January 19, 2007, the JCC-I/A issued the RFP, calling for security services
supporting operations and projects by the Gulf Region Division of the U.S. Army Corps of
Engineers (“GRD”) throughout Iraq. These services include supporting operations of
Reconstruction Operations Centers (“ROCs”), providing personal security to GRD and JCC-
I/A staff, providing guard services for GRD facilities, providing Reconstruction Liason
Teams to evaluate security conditions and construction activity at construction sites, and
vetting prospective Iraqi employees of both JCC-I/A and GRD. For the past three years,
JCC-I/A and GRD provided such services under two separate contracts. Plaintiff is currently
performing one of these two contracts. Plaintiff’s incumbent contract is approaching its
conclusion. Plaintiff was one of seven offerors that submitted proposals, along with
intervenor-defendant Aegis Defence Services Ltd. (“Aegis”); ArmorGroup North America
Inc. (“ArmorGroup”); [

                                                            ].

       On April 1, 2007, the JCC-I/A Source Selection Authority (the “SSA”), Col. Joseph
A. Bass of the U.S. Army, presented an evaluation of each proposal and announced the
agency’s decision “that Aegis Defence and Armor Group North America comprise the
competitive range.” AR Tab 22 at 2407. On April 2, 2007, the JCC-I/A notified plaintiff that
it had been excluded from the competitive range for the RSSS Contract. The JCC-I/A
provided a written debriefing to plaintiff on April 5, 2007, in a letter by then-Contracting
Officer JoAnn M. Townley.




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        On April 9, 2007, plaintiff filed a bid protest concerning the RFP with the U.S.
Government Accountability Office (the “GAO”). On May 18, 2007, the JCC-I/A filed an
Agency Report with the GAO. On May 29, 2007, the JCC-I/A informed plaintiff and the
GAO that the RFP was also being challenged by Brian X. Scott at the United States Court
of Federal Claims in Scott v. United States, No. 07-216C (Fed. Cl. filed Apr. 3, 2007). 2/
On May 31, 2007, the GAO dismissed plaintiff’s protest pursuant to 4 C.F.R. § 21.11(b)
(2006), on the ground that the RFP that was the subject of plaintiff’s protest was “the subject
of litigation before a court of competent jurisdiction.” AR Tab 36 at 2693.

        On June 1, 2007, plaintiff filed an action in the United States Court of Federal Claims
protesting its exclusion from the competitive range. That action was captioned Erinys Iraq
Ltd. v. United States, No.07-340 (Fed. Cl. filed Jun. 1, 2007) (“Erinys I”). On the same date,
plaintiff sought, and this court issued, a temporary restraining order directing defendant not
to award the RSSS Contract pending dissolution of the order on June 7, 2007, or a
continuation thereof, because the agency had failed to conduct a price realism analysis.
During the hearing held on June 7, 2007, on extension of the temporary restraining order,
defendant represented that the JCC-I/A intended to take corrective action by setting aside the
initial competitive range determination and conducting a new evaluation. For that reason,
no objection having been registered by defendant or Aegis, on June 11, 2007, the court
dismissed plaintiff’s complaint without prejudice.

        The JCC-I/A then ordered the new contracting officer, Lt. Col. Mark Wade, to
conduct a second evaluation of the seven proposals. On July 18, 2007, the JCC-I/A issued
its second evaluation, by which Col. Victoria H. Diego-Allard, the new SSA, determined that
Aegis and ArmorGroup comprised the competitive range. On July 22, 2007, the JCC-I/A
informed plaintiff of its exclusion from the competitive range.

       Following notice of its exclusion from the competitive range for the second time, on
July 25, 2007, plaintiff filed the complaint in the instant action. On July 30, 2007, the court
granted Aegis’s motion to intervene as a matter of right and ordered the parties to file
simultaneous cross-motions for judgment on the administrative record.

                                           FACTS

       The Administrative Record (the “AR”), as supplemented, is the source of the
following facts. The GRD engages in reconstruction operations throughout Iraq. The JCC-



       2/ Subsequent to arguments in the instant case, Scott was dismissed for lack of
subject matter jurisdiction. Scott, No. 07-216C (Fed. Cl. Aug. 23, 2007).

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I/A currently has two different contracts in place, each with a different contractor, to provide
the GRD with security services for its reconstruction teams, as well as a variety of support
services to facilitate its reconstruction mission. The two incumbent contractors are Aegis and
plaintiff. The existing contract with Aegis is a “Cost Plus Fixed-Fee contract.” AR Tab 1 at
5. Fiscal year 2006 expenditures under the contract with Aegis were in the amount of
$136,054,330.67. The existing contract with plaintiff is an “Indefinite Delivery/Indefinite
Quantity (ID/IQ) contract, with Fixed Labor Task Rate Orders.” Id. During fiscal year 2006,
expenditures under plaintiff’s contract totaled $35,799,180.84.

        The JCC-I/A expressed a continuing need to provide these reconstruction security
support services to the GRD, which included furnishing security for GRD operations, as well
as static guard services for GRD facilities and Reconstruction Liason Teams to evaluate
security conditions and construction activity at construction sites and vetting prospective
Iraqi employees of both JCC-I/A and GRD. The JCC-I/A anticipated that consolidating the
contracts would provide some “economies of scale for indirect costs such as safety, training,
QA, HR, logistics, etc.” AR Tab 1 at 8. The JCC-I/A contemplated that consolidating the
contracts would allow for easier administration of the reconstruction security support services
and that “[f]ull and open competition [between offerors] may realize some reduction from
current prices.” Id.

       The nature and extent of the reconstruction security support services that the JCC-I/A
and GRD required changed considerably over the three years during which these services
were being provided under the two separate contracts. The JCC-I/A noted that “[t]hese
refinements came at a price. For example, the contract with Aegis was modified more than
70 times and the [Erinys] contract was modified more than 15 times.” AR Tab 1 at 9. While
the JCC-I/A was now “reasonably certain” that it knew “the broad scope” of its requirements,
it remained “unable to estimate, with a reasonable certainty, how much services will be
needed nor when services will be needed.” Id. For this reason the JCC-I/A concluded that
an Indefinite Delivery/Indefinite Quantity (“ID/IQ”) contract with Fixed Labor Rate task
orders would “provide a solution to service level uncertainty.” Id. The JCC-I/A determined
that such an ID/IQ contract would best serve its needs because

       [a]n ID/IQ contract will establish unit prices and the broad scope requirements
       that can be ordered Fixed Labor Rate task orders will specify the service levels
       needed. Performance-price tradeoff will be performed for each task order
       award.

              A Positive Performance Incentive Plan will be incorporated in the
       contract. The incentive plan will apply to [Security Escort Team] services and



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       [Reconstruction Liasom Team] services as these are the two [contract line item
       numbers] that impact the safety of GRD and [JCC-I/A] staff.

Id.

       The JCC-I/A prepared a procurement strategy and acquisition strategy/plan, which
was approved on January 17, 2007. In the Source Selection Plan, the JCC-I/A announced
its acquisition strategy:

               This is a competitive acquisition for an Indefinite Delivery/ Indefinite
       Quantity (ID/IQ) contract with Fixed Labor Rate Task Orders. The period for
       ordering task orders will be 12 months and there will be an option of 12
       months making the maximum potential contract period 24 months. The
       Contracting Officer has determined circumstances peculiar to the requirements
       of this procurement action warrant awarding one ID/IQ contract.

              The acquisition is being conducted in accordance with FAR Part 15,
       Contracting by Negotiation. Award will be made to the best overall proposal,
       which is determined to be the most beneficial to the Government (Best Value).

AR Tab 3 at 66.

       The RFP called for evaluation on price and five technical factors: Management
Approach, Technical Approach, Past Experience, Past Performance, and Socioeconomic.
The terms of the RFP contemplated that the Source Selection Evaluation Board (the “SSEB”)
was to evaluate

       each proposal in relation to each factor, and then . . . give a consensus rating.
       Each factor, with the exception of price, will receive a rating, and then there
       will be an overall roll-up rating of the proposal as a whole. The overall
       evaluation of the offeror's capability to perform shall be based on all the
       evaluation factors . . . .

Id. In evaluating the relative importance of each of these factors, “[e]ach of the technical
factors are of equal importance relative to each other. All technical factors combined are
significantly more important than price.” Id.

        Prospective offerors were directed to prepare their bids according to a set of
specifications set forth in the RFP. These specifications described the substantive elements
that offerors were to include in their proposals and included instructions on how to organize

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a proposal. The instructions also directed prospective offerors to include specified
information in particular files. Prospective offerors were instructed to prepare six such files
– one file for each technical factor and one file for price. The instructions also required, for
inclusion in each file, the “[i]dentification and explanation of any exceptions or deviations”
and instructed that “[a]ny assumptions used in the proposal presentation . . . be identified.”
AR Tab 4 at 128, 129, 131, 132, 133.

       The contract was to be awarded to the proposal that provided the Government with
the best value, based on an evaluation of each of these files in accordance with section M of
the RFP. See AR Tab 4 at 134-39. The RFP elaborated further on the meaning of “best
value:”

               M.1.1 Award will be made to the offeror whose proposal represents the
       best value to the Government. Offerors were advised that the Government
       seeks proposals, which demonstrate the greatest management and technical
       ability and the greatest benefit to socioeconomic well being of Iraq businesses
       and employees at a reasonable, realistic, and affordable price based on the
       evaluation factors listed below. Evaluated price will be compared to
       management and technical competence and socioeconomic impacts. A
       price/technical tradeoff will be conducted to determine which offer represents
       the overall best value to the Government. The Government reserved the right
       to make an award to other than the lowest-priced offeror or to other than the
       offeror with the best technical evaluation if the Contracting Officer determines
       that to do so would result in the best value to the Government.

              M.1.2 Award may be made without discussions. However, in
       accordance with FAR Sub-part 15.306(a)(1) & (2) some clarifications may be
       required. In accordance with FAR Sub-part 15.306(a)(3), the Government
       reserves the right to hold discussions if it is determined that discussions are
       necessary. Should the number of proposals exceed the number at which an
       efficient competition can be conducted; the Contracting Officer will establish
       the competitive range.

AR Tab 4 at 134.

       In its evaluation of the proposals for the second competitive range determination, the
SSA rated each proposal on its technical factors by assigning an adjectival rating. For
technical factors 1, 2, 3, and 5 (Management Approach, Technical Approach, Past
Experience, and Socioeconomic, respectively), the SSA used the following adjectival ratings:



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  Color                                         Definition
 Blue        A proposal that satisfies all of the Government’s requirements with
             extensive detail to indicate feasibility of the approach and shows a
             thorough understanding of the problems and offers numerous significant
             strengths, which are not offset by weaknesses, with an overall low degree
             of risk in meeting the Government’s requirements.

 Green       A proposal that satisfies all of the Government’s requirements with
             adequate detail to indicate feasibility of the approach and shows an
             understanding of the problems and offers some significant strengths or
             numerous minor strengths, which are not offset by weaknesses, with an
             overall low to moderate degree of risk in meeting the Government’s
             requirements.

 Yellow      A proposal that satisfies all of the Government’s requirements with
             minimal detail to indicate feasibility of the approach and shows a minimal
             understanding of the problems, with an overall moderate to high degree of
             risk in meeting the Government’s requirements.

 Orange      A proposal that satisfies all of the Government’s requirements with
             minimum detail to indicate feasibility of approach and shows a minimal
             understanding of the problem with an overall high degree of risk in
             meeting the Government’s requirement[s].

 Red         A proposal that contains a major error(s), omission(s) or deficiency(ies)
             that indicates a lack of understanding of the problems or an approach that
             cannot be expected to meet requirements or involves a very high risk; and
             none of these conditions can be corrected without a major rewrite or
             revision of the proposal.
AR Tab 41 at 2795. In rating technical factor 4, Past Performance, the SSA used the
following adjectival ratings:


  Color                                         Definition
 Blue        Little doubt exists, based on the Offeror’s performance record, that the
             Offeror can perform the proposed effort.

 Green       Some doubt exists, based on the Offeror’s performance record, that the
             Offeror can perform the proposed effort.




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   Color                                           Definition
 Orange      Significant doubt exists, based on the Offeror’s performance record, that
             the Offeror can perform the proposed effort.

 Red         Extreme doubt exists, based on the Offeror’s performance record, that the
             Offeror can perform the proposed effort.

 Yellow      No relevant performance record identifiable; equates to an unknown risk
             rating having no positive or negative evaluation significance.
Id. at 2796. These adjectival ratings were to be assigned based on the evaluation criteria
established in section M of the RFP.

      The RFP directed the JCC-I/A to evaluate price proposals for “completeness,
reasonableness, and realism.” AR 4 at 139. The JCC-I/A defined these three terms in the
RFP:

               (1) Completeness: To be complete, the offeror must provide all the data
       that is necessary to support the proposal. The Government will evaluate the
       extent to which the price proposal complies with the content and format
       requirements set forth in this solicitation and exhibits traceability of estimates.

              (2) Reasonableness: The offeror’s proposed prices will be evaluated to
       determine any unreasonably high or low prices in relation to the offeror’s
       technical proposal.

              (3) Realism: Proposed prices will be evaluated to determine if the prices
       are realistic for the work to be performed, reflect a clear understanding of the
       requirements, and are consistent with the unique methods of performance and
       materials described in the offeror’s proposal.

              If an Offeror’s price is evaluated as unrealistically low or high
       compared to the anticipated price of performance and/or the offeror fails to
       recognize and/or mitigate management, technical, schedule, and price risks, the
       Government will reflect the inherent findings, risks, and associated price
       impacts in the Price Realism Analysis as well as in the appropriate Factor
       within the Technical proposal. A proposal in which prices proposed are
       unrealistically low for the effort proposed may cause that proposal to no longer
       be considered for award. The Government will evaluate price proposals to
       determine whether the offered price reflects a sufficient understanding of the
       contract requirements and the risk inherent in the offeror’s approach.

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       Proposals found to have an unrealistic price may be deemed to be unacceptable
       and may not receive further consideration. Price will also be a factor in
       establishing the competitive range prior to discussions (if held) and in making
       the final best value determination for award.

Id. The price evaluation would include an analysis of “unit prices, total proposed prices,
performance incentive rates and maximum performance incentive amounts, for the basic
performance period and all option periods.” Id. The RFP also noted that “[p]rice realism
analysis will be a separate review and evaluation of the proposed price to determine the
degree to which an offeror proposes realistic prices.” Id.

        In the SSA’s second determination of the competitive range, plaintiff was excluded
from the competitive range. On July 22, 2007, the JCC-I/A informed plaintiff of its
exclusion from the competitive range. Plaintiff then filed its complaint in the present action
protesting this exclusion and alleged four counts upon which relief should be granted. In its
first count, plaintiff claims that the JCC-I/A’s price evaluation was flawed because “the
[JCC-I/A] failed to perform a proper price realism analysis” in evaluating the prices of each
offeror’s proposal. Am. Compl. filed Aug. 22, 2007, ¶ 47; see id. ¶¶ 47-52. Plaintiff also
asserts that the JCC-I/A’s price reasonableness analysis was flawed. For these reasons
plaintiff asserts that “[the JCC-I/A’s] price evaluation . . . was arbitrary, capricious, an abuse
of discretion, and not in accordance with the law.” Id. ¶ 85.

       In its second count, plaintiff claims that the JCC-I/A engaged in unequal discussions
with Aegis and ArmorGroup after the JCC-I/A made its determination of the competitive
range. See id. ¶¶ 54-60. Plaintiff alleges that such determinations prejudiced plaintiff and
made the JCC-I/A’s evaluation “arbitrary, capricious, an abuse of discretion, and not in
accordance with the law.” Id. ¶ 89.

       The third count claims that the JCC-I/A’s determination of the non-price technical
factors was irrational. See id. ¶¶ 61-69. In its fourth count, plaintiff claims that the JCC-I/A
engaged in other unequal treatment of plaintiff. See id. ¶¶ 70-77. Plaintiff alleges that these
actions were “arbitrary, capricious, an abuse of discretion, and not in accordance with the
law.” Id. ¶¶ 92, 95.

                                        DISCUSSION
I. Standard of review

      The United States Court of Federal Claims has jurisdiction over actions brought by
disappointed offerors in a government procurement pursuant to the Tucker Act, 28 U.S.C.
§ 1491(b)(1) (2000), as amended by the Administrative Disputes Resolution Act of 1996,

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Pub. L. No. 104-320, § 12(a), 110 Stat. 3870, 3874-75 (codified at 28 U.S.C. § 1491(b)) (the
“ADRA”).

       1. Standing

       Standing is a threshold matter that every plaintiff must establish in order to invoke the
court’s jurisdiction. Sicom Sys., Ltd. v. Agilent Techs., Inc., 427 F.3d 971, 975 (Fed. Cir.
2005). In 1996 Congress clarified the court’s bid protest jurisdiction when it passed the
ADRA, 28 U.S.C. § 1491(b)(1) (2000). This statute provides the United States Court of
Federal Claims with jurisdiction

       to render judgment on an action by an interested party objecting to a
       solicitation by a Federal agency for bids or proposals for a proposed contract
       or to a proposed award or the award of a contract or any alleged violation of
       statute or regulation in connection with a procurement or a proposed
       procurement.

Id. The Federal Circuit considered the scope of this revised jurisdicitonal grant in American
Federation of Government Employees v. United States, 258 F.3d 1294, 1298 (Fed. Cir. 2001)
(“AFGE”), concluding that the term “interested party” of section 1491(b)(1) should be
construed “in accordance with the [Competition in Contracting Act,]” 31 U.S.C. § 3551(2)
(2000). AFGE, 258 F.3d at 1302.

          The relevant portion of the Competition in Contracting Act defines an interested party
as “an actual or prospective bidder or offeror whose direct economic interest would be
affected by the award of the contract or by failure to award the contract.” 31 U.S.C.
§ 3551(2) (2000). Courts construing the second element, the “direct economic interest”
prong, have done so narrowly, “guided by the principle that waivers of sovereign immunity
. . . are to be construed narrowly.” AFGE, 257 F.3d at 1301. An actual or prospective bidder
demonstrates that it has a direct economic interest by showing that, absent the alleged agency
error, a “substantial chance” exists that it would have received the contract award. See
Bannum, Inc. v. United States, 404 F.3d 1346, 1353 (Fed. Cir. 2005); see also Myers
Investigative and Security Serv., Inc. v. United States, 275 F.3d 1366, 1370 (Fed. Cir. 2002)
(prejudice requirement for standing satisfied by showing that protestor “could compete for
the contract.”).

       2. Standard of review of a bid protest in a negotiated procurement

      In evaluating an agency procurement decision, the ADRA prescribes the standard of
review set forth in the Administrative Procedure Act, 5 U.S.C. § 706 (2000) (the “APA”).

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See 28 U.S.C. § 1491(b)(4) (2000); Banknote Corp. of Am. v. United States, 365 F.3d 1345,
1350 (Fed. Cir. 2004). The APA gives the court discretion to set aside agency action only
if it is “arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with law.”
5 U.S.C. § 706(2)(A); see PGBA, LLC v. United States, 389 F.3d 1219, 1224-28 (Fed. Cir.
2004) (clarifying that ADRA incorporated arbitrary and capricious standard of APA as
standard of review, but did not alter court’s equitable discretion in granting remedy of
injunctive relief).

       Even if a disappointed bidder can show that the agency’s conduct violated the APA
standard, not all violations of this standard entitle a disappointed bidder to relief. The bidder
also must show that it actually was prejudiced by that agency conduct. 3/ For this reason the
Federal Circuit has directed that

       [a] bid protest proceeds in two steps. First, . . . the trial court determines
       whether the government acted without rational basis or contrary to law when
       evaluating the bids and awarding the contract. Second, . . . if the trial court
       finds that the government’s conduct fails the APA review under 5
       U.S.C. § 706(2)(A), then it proceeds to determine, as a factual matter, if the
       bid protester was prejudiced by that conduct.




       3/ In order to establish standing, a disappointed bidder must show that it has a “direct
economic interest [that] would be affected by the award of the contract or by failure to award
the contract.” 31 U.S.C. § 3551(2) (2000). See Rex Serv. Corp. v. United States, 448 F.3d
1305, 1307 (Fed. Cir. 2006). This requirement contemplates a showing of prejudice. See
Info. Tech. & Applications Corp. v. United States, 316 F.3d 1312, 1319 (Fed. Cir. 2003).
Showing prejudice is also an essential element of success on the merits. See Banknote, 365
F.3d at 1351. The prejudice requirement for standing generally has been satisfied by the
mere showing that a protestor “could compete for the contract,” Myers, 275 F.3d at 1370, but
the threshold showing of prejudice required for success on the merits generally is higher.
See, e.g., Galen Med. Associates v. United States, 369 F.3d 1324, 1330-31 (Fed. Cir. 2004)
(prejudice not found when protestor could not meet requirements of solicitation because it
lacked the requisite facilities); Data Gen. Corp. v. Johnson, 78 F.3d 1556, 1563 (prejudice
not shown when, despite pricing error, protestor’s prices remained substantially higher). It
is possible to satisfy both of these standards with the same demonstration of a “substantial
chance” of receiving the award, but for the alleged error, if that demonstration satisfies the
more stringent standard for showing prejudice on the merits. See Alfa Laval Separation, Inc.
v. United States, 175 F.3d 1365, 1367 (Fed. Cir. 1999). These standards are not identical,
however.

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Bannum, 404 F.3d at 1351. The plaintiff bears the “heavy burden” of proving a lack of
rational basis or a violation of the law by a preponderance of the evidence. Impresa
Construzioni Geom. Domenico Garufi v. United States, 238 F.3d 1324, 1333 (Fed. Cir. 2001)
(“Domenico Garufi”).

        Agency action is arbitrary or capricious when it lacks any rational basis. For an
agency action to be grounded on some rational basis, “‘the contracting agency [must]
provide[] a coherent and reasonable explanation of its exercise of discretion.’” Id. at 1332
(quoting Saratoga Dev. Corp. v. United States, 21 F.3d 445, 456 (D.C. Cir. 1994)). An
agency is generally entitled to wide discretion in its evaluation of bids. Grumman Data Sys.
Corp. v. Widnall, 15 F.3d 1044, 1046 (Fed. Cir. 1994). In a bid protest context, the court’s
role is not to substitute its judgment for that of the agency; rather, it should defer to the
agency’s analysis so long as it has substantial basis in fact. See id.; see also Camp v. Pitts,
411 U.S. 138, 142-43 (1973) (in reviewing agency decisions, courts should not engage in
decision-making process anew, but instead review facts to determine if agency’s decision is
supported by rational basis).

        In particular, technical ranking decisions made by the agency are “minutiae of the
procurement process . . . , which involve discretionary determinations of procurement
officials that a court will not second guess.” E.W. Bliss Co. v. United States, 77 F.3d 445,
449 (Fed. Cir. 1996); see also Fed. Power Comm’n v. Fl. Power & Light Co., 404 U.S. 453,
463 (1972) (courts recognize technical experience of relevant agency and defer to analysis
unless without substantial basis in fact). Where the procurement in question is a negotiated
“best value” procurement, as it is in this case, AR Tab 4 at 134, “the protestor’s burden of
proving that the award was arbitrary, capricious, an abuse of discretion, or otherwise not in
accordance with law is greater than in other types of bid protests.” Galen Med. Assocs. v.
United States, 369 F.3d 1324, 1330 (Fed. Cir. 2004). Because a contract award based on
“best value” takes more than price into consideration, “the contracting officer [has] even
greater discretion than if the contract were to have been awarded on the basis of cost alone.”
Id.

       Agency procurement procedures that are contrary to applicable laws and regulations
also violate the APA standard. 5 U.S.C. § 706(2)(A); Bannum, 404 F.3d at 1351; Domenico
Garufi, 238 F.3d at 1335. Federal law requires that an agency “evaluate . . . competitive
proposals and make an award based solely on the factors specified in the solicitation.” 10
U.S.C. § 2305(b)(1) (2000). An agency has no discretion regarding the mandate of
applicable laws and regulations. It is irrelevant whether the agency views the regulation or
requirement of the solicitation as important. Where the agency establishes mandatory
requirements or procedures in its RFP, it is bound strictly by those terms “‘regardless of [the
evaluation group’s] view of the appropriateness of the standard’” established in the RFP.

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Alfa Laval, 175 F.3d at 1367-68 (quoting Alfa Laval Separation, Inc. v. United States, 40
Fed. Cl. 215, 220 (1998), rev’d on other grounds 175 F.3d 1365 (Fed. Cir. 1999)).

       3. Standard of review for judgment on the administrative record

       The parties filed cross-motions for judgment on the administrative record pursuant to
RCFC 52.1. RCFC 52.1 provides a procedure for expedited trial on a “paper record,
allowing fact-finding by the trial court.” Bannum, 404 F.3d at 1356. Unlike a motion for
summary judgment, a genuine dispute regarding a material fact will not preclude a judgment
on the administrative record. See id. The parties are restricted to the agency record and any
supplementation consistent with RCFC 52.1. The court must make its findings of fact from
this record as if it were conducting a trial. Id. at 1357. In certain circumstances the
administrative record may be supplemented. Domenico Garufi, 238 F.3d at 1338
(supplementation appropriate where “required for meaningful judicial review”). 4/

       4. Standards for obtaining injunctive relief

       Plaintiff asks for an injunction preventing the JCC-I/A from making any contract
award during the pendency of this action, 5/ an order requiring the JCC-I/A to engage in an
new evaluation of proposals, and a new determination of the competitive range. Am. Compl.
pp. 31-32. In a bid protest action, the Court of Federal Claims has the power to grant
injunctive relief. 28 U.S.C. § 1491(b)(2). The award of injunctive relief is an
“extraordinary” one to be granted only in limited circumstances. John C. Grimberg Co., Inc.
v. United States, 702 F.2d 1362, 1372 (Fed. Cir. 1983). In order to obtain an injunction, a
protestor must demonstrate by a preponderance of the evidence that (1) it succeeds on the


     4/ Defendant moved to supplement the administrative record with additional relevant
documents on August 6, 2007. The court granted this motion on the same date.

        5/ Plaintiff’s original complaint in this action did not include this request for a
preliminary injunction, nor any allegations relating to satisfying the requirements for granting
injunctive relief. In the previous action before the court, Erinys I, plaintiff sought a
temporary restraining order. Motion of Plaintiff Erinys Iraq Limited for a Temporary
Restraining Order and/or Preliminary Injunction, filed Jun. 1, 2007, Erinys I, No. 07-340.
During argument for judgment on the administrative record in this case, the court recognized
that the record did not indicate whether and to what extent these showings in Erinys I would
apply to the instant action. Transcript of Proceedings, Erinys Iraq Ltd. v. United States, No.
07-562, at 88 (Fed. Cl. Aug. 21, 2007) (“Tr.”). For this reason the court allowed plaintiff the
opportunity to amend its complaint to include its requests for injunctive relief and to support
these requests with the appropriate allegations. See Order entered Aug. 21, 2007, ¶ 1.

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merits; (2) it will suffer irreparable harm if injunctive relief is not granted; (3) the harm to
plaintiff if an injunction is not granted outweighs the harm to the Government if an
injunction is granted; and (4) the injunction is not against the public interest. PGBA, 389
F.3d at 1228-29; FMC Corp. v. United States, 3 F.3d 424, 427 (Fed. Cir. 1993); see U.S.
Ass’n of Importers of Textiles & Apparel v. United States, 413 F.3d 1344, 1346 (Fed. Cir.
2005).

II. Success on the merits

        Plaintiff has standing to pursue this action because it was an actual bidder in this
solicitation, and because its direct economic interest would be affected by the award of the
contract or by failure to award the contract To demonstrate success on the merits, plaintiff
must prove either that the JCC-I/A acted without a rational basis when it excluded plaintiff
from the competitive range or that the agency action constituted “a clear and prejudicial
violation of the applicable statutes or regulations.” Domenico Garufi, 238 F.3d at 1333. In
addition, plaintiff must prove that the JCC-I/A’s actions prejudiced plaintiff. “[I]f the trial
court finds that the government’s conduct fails the APA review under 5 U.S.C. § 706(2)(A),
then it proceeds to determine, as a factual matter, if the bid protestor was prejudiced by that
conduct.” Bannum, 404 F.3d at 1351. “[T]he prejudice determination assesses whether an
adjudged violation of law warrants setting aside of [the agency determination].” Id. at 1357.

       Plaintiff attacks the solicitation on three major grounds. First, plaintiff alleges that
the JCC-I/A’s price evaluation was irreparably flawed, irrational, counter to the RFP, and
arbitrary and capricious. Plaintiff next argues that SSEB engaged in improper discussions
with Aegis and ArmorGroup that improperly favored one offeror over another in violation
of 48 C.F.R. (FAR) § 15.306(e)(1). Finally, plaintiff argues that the JCC-I/A evaluated a
variety of non-price factors in an irrational manner and that this evaluation was also the
product of unequal treatment. Of these three arguments, the attack on the JCC-I/A’s price
evaluation is the most substantial; because the latter two arguments can be considered with
comparative brevity, the court will address them first.

       1. The non-price factors were the basis for excluding plaintiff from the competitive
             range

       The RFP called for an evaluation of five technical factors: Management Approach,
Technical Approach, Past Experience, Past Performance, and Socioeconomic, as well as
price. In evaluating the relative importance of each of these factors, “[e]ach of the technical
factors are of equal importance relative to each other. All technical factors combined are
significantly more important than price.” AR Tab 4 at 134. Plaintiff contends that “the
Record demonstrates that the evaluation of the nonprice factors was also irrational, contrary

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to the RFP and/or unsupported by the Record, and/or the result of unequal treatment.” Pl.’s
Br. filed Aug. 10, 2007, at 29.

       The record shows expressly, however, that the JCC-I/A did not exclude plaintiff from
the competitive range because of plaintiff’s technical ratings. In the JCC-I/A’s Final
Competitive Range Determination dated July 21, 2007, the SSA provided a narrative
describing each offeror’s technical ratings, the reasons for assigning each offeror a particular
technical rating, and a description of each offeror’s strengths and weaknesses. This narrative
included a summary describing the SSA’s evaluation of plaintiff’s proposal and reasons for
excluding it from the competitive range:

       The agency found that Erinys’[s] proposal satisfied all the agency’s
       requirements with adequate detail to indicate a feasible approach. Erinys’[s]
       proposal offered an overall low to moderate degree of risk in meeting the
       requirements. These ratings and a lower price would have placed Erinys in the
       competitive range however, Erinys offered the highest price of all offers –
       more than [ ] higher than the average of all offers – nearly double the price
       of all the offerors included in the competitive range.

AR Tab 41 at 2854 (emphasis added). Plaintiff recognized as much in its motion for
judgment on the administrative record. See Pl.’s Br. filed Aug. 10, 2007, at 29 (“It is clear
from the Record that the Agency’s price evaluation was the sole cause for the Agency’s
decision to exclude Erinys from the competitive range.”).

       Even assuming, arguendo, that every action by the JCC-I/A that plaintiff considers
a violation of the APA standard actually constitutes a violation, plaintiff still must show that
it was prejudiced by these violations. Bannum, 404 F.3d at 1351. Thus, the record must
support a finding that the JCC-I/A’s flawed evaluation of plaintiff’s technical proposal
precluded plaintiff from having a substantial chance of being awarded the contract; i.e., that
these technical ratings led to plaintiff’s exclusion from the competitive range. In this case
no such showing is possible, because the JCC-I/A acknowledges that “[t]hese ratings and a
lower price would have placed Erinys in the competitive range.” AR Tab 41 at 2854.

       2. The JCC-I/A did not engage in unequal or improper discussions

       Plaintiff complains that members of the SSEB engaged in discussions with, and
evaluated proposal revisions from, Aegis and ArmorGroup without according equal treatment
to plaintiff in violation of FAR 15.306(e)(1). FAR 15.306(e)(1) prohibits agencies from
using discussions to engage in conduct that “[f]avors one offeror over another.” FAR
15.306(e)(1). The record shows that members of the SSEB discussed topics, including

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“proposed management approach, technical approach, socioeconomic, and price proposals”
with both Aegis and ArmorGroup. AR Tab 23 at 2409; AR Tab 24 at 2410. The timing of
these discussions, however, is relevant. These discussions occurred after the first
establishment of the competitive range. See AR Tab 22 (first competitive range established
April 1, 2007); AR Tab 23-24 (letters dated April 2, 2007). The FAR directs agencies to
“evaluate all proposals . . . and, if discussions are to be conducted, establish the competitive
range.” FAR 15.306(c)(1). After establishing the competitive range, agencies are free to
engage in discussions with offerors to

       [allow] the offeror to revise its proposal. These [discussions] may include
       bargaining. Bargaining includes persuasion, alteration of assumptions and
       positions, give-and-take, and may apply to price, schedule, technical
       requirements, type of contract, or other terms of a proposed contract.

FAR 15.306(d). In a competitive acquisition, such as the one in the case at bar, these
discussions “take place after establishment of the competitive range.” Id.; see Information
Tech. & Applications Corp. v. United States, 316 F.3d 1312, 1321-22 (Fed. Cir. 2003). The
discussions with Aegis and ArmorGroup occurred only after the SSA had established the
competitive range. Although the competitive range determination was set aside in Erinys I,
the timing of those discussions was proper; and, pursuant to the FAR, the JCC-I/A was not
obligated to engage in such discussions with any offeror not in the competitive range. See
FAR 15.306(d).

        After the first determination of the competitive range and plaintiff’s first protest in
Erinys I, the JCC-I/A agreed to set aside the competitive range determination and engage in
a new determination. For the second competitive range determination, the JCC-I/A
appointed Lt. Col. Wade as Contracting Officer and Col. Diego-Allard as the new SSA.
Plaintiff views the second competitive range determination as improperly tainted by the first-
round post-competitive range determination discussions that the JCC-I/A conducted with
Aegis and ArmorGroup. Plaintiff frames its challenge, as follows: “Throughout this
procurement, Ms. Margaret Jones has been the Chair of the SSEB, and Mr. David Ziemba
has been a cost/price advisor to the SSEB.” Pl.’s Br. filed Aug. 10, 2007, at 23. As
cost/price advisor to the SSEB, Mr. Ziemba was involved in the discussions with Aegis and
ArmorGroup following the first competitive range determination and was involved in the
subsequent proposal revisions. Both Ms. Jones and Mr. Ziemba remained involved in the
solicitation process through the second competitive range determination. According to
plaintiff, both Ms. Jones and Mr. Ziemba communicated with the newly appointed
Contracting Officer and SSA. Plaintiff views these discussions as “fundamentally unfair
because it would be impossible for Ms. Jones and Mr. Ziemba to objectively forget what was
learned during discussions.” Pl.’s Br. filed Aug. 17, 2007, at 24.

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        In order to succeed in its argument that the Ms. Jones or Mr. Ziemba led the JCC-I/A
improperly to rely on information that they gleaned from discussions following the first
competitive range determination when engaging in the second competitive range
determination, defendant would have plaintiff meet a daunting burden of proof. The
Government is presumed to act without bad faith. Am-Pro Protective Agency, Inc. v. United
States, 281 F.3d 1234, 1240 (Fed. Cir. 2002). The standard for demonstrating “well-nigh
irrefragable proof,” urged by defendant, is high, as it refers to “evidence that cannot be
refuted or disproved.” Id. at 1240 (internal quotation omitted).

       As with the clear and convincing standard, the requirement of “well-nigh
       irrefragable proof” also sets a high hurdle for a challenger seeking to prove
       that a government official acted in bad faith: In the cases where the court has
       considered allegations of bad faith, the necessary “irrefragable proof” has been
       equated to evidence of some specific intent to injure the plaintiff.

Id.

       The Court of Federal Claims has suggested, in two published opinions since 2005,
(Judge Wolski’s being much more extensive than that of the undersigned), that

       [t]he Government’s long touted desideratum that “irrefragable proof” is
       needed to demonstrate the absence of good faith in the administration of
       government contracts has been given its last rites. See Tecon, 66 Fed. Cl. at
       766[-67 &] n.36.

H & S Mfg., Inc. v. United States, 66 Fed. Cl. 301, 310 n.19 (2005). In select cases,
however, the indicted government act amounts to charges of misconduct. See, e.g., Textron,
Inc. v. United States, 74 Fed. Cl. 277, 293 (2006) (procurement officials accused of
disclosing sensitive government information to competitors). Setting a “high hurdle,” Am-
Pro Protective Agency v. United States, 281 F.3d 1234, 1240 (Fed. Cir. 2002) (quoted in
Textron, 74 Fed. Cl. at 293), makes sense in those limited circumstances.

       The court construes plaintiff’s assignment of error not as an indictment of the
evaluators’ conduct, but as an agency act that is alleged to have been arbitrary, i.e., plaintiff
does not accuse the evaluators of misfeasance or malfeasance, but as disqualified from
proceeding because of the presumed taint of prior proceedings. However, plaintiff cannot
substantiate that either evaluator carried over into his or her second competitive range
determination any tainted knowledge from the first. The discussions following the first
competitive range determination were proper under the FAR. See FAR 13.506(c)(1); FAR
13.506(d)(1). The record demonstrates that Mr. Ziemba’s communications to Contracting

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Officer Lt. Col. Wade concerned pricing of only the initial proposals, not revised pricing
information. Nothing in the record supports plaintiff’s assertion that Ms. Jones provided Lt.
Col. Wade or Col. Diego-Allard with any information from Aegis’s or ArmorGroup’s revised
proposals. Moreover, Ms. Jones’s email communications to Lt. Col. Wade that plaintiff
posits to have contained this information were sent on July 21 and July 23, three and five
days, respectively, after the July 18 determination of the second competitive range.

      For these reasons, plaintiff has failed to show that the JCC-I/A engaged in any
unequal or improper discussions that might have prejudiced plaintiff.

       3. The JCC-I/A’s price evaluation

        The central issue in this bid protest has been identified as whether the JCC-I/A
engaged in a proper price evaluation, because the JCC-I/A acknowledged that plaintiff was
excluded from the competitive range solely due to its price. See AR Tab 41 at 2854 (“These
[technical] ratings and a lower price would have placed Erinys in the competitive range.”).
The price evaluation contemplated by the RFP involved an analysis of “unit prices, total
proposed prices, performance incentive rates and maximum performance incentive amounts,
for the basic performance period and all option periods.” AR Tab 4 at 139. The RFP
directed the JCC-I/A to evaluate price proposals for “completeness, reasonableness, and
realism.” Id. Plaintiff’s attacks on the JCC-I/A’s price evaluation are threefold. First,
plaintiff alleges that the JCC-I/A did not engage in separate or proper price reasonableness
and realism analyses. Second, plaintiff alleges that the JCC-I/A did not engage in a
meaningful price comparison within the terms of the RFP. Finally, plaintiff alleges that the
JCC-I/A improperly excluded plaintiff from the competitive range because it did not treat
plaintiff’s incentive fee proposal as required by the RFP.

              1) The JCC-I/A engaged in proper price reasonableness and price realism
                    analyses.

        Plaintiff charges that the JCC-I/A has not engaged in a meaningful price realism
analysis. In particular, plaintiff criticizes the agency for ignoring “red flags” in its
competitors’ proposals and for engaging in what it deems to be a cursory analysis. Pursuant
to the RFP, the purpose of price realism analysis was “to determine if the prices are realistic
for the work to be performed, reflect a clear understanding of the requirements, and are
consistent with the unique methods of performance and materials described in the offeror's
proposal.” AR Tab 4 at 139. Although the FAR provides a set of tools and baseline
procedures that agencies should use and follow when engaging in price analysis for
reasonableness, the FAR is silent on how to conduct a price realism analysis. See FAR
15.404-1. Generally, “the nature and extent of an agency’s price realism analysis are matters

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within the agency’s discretion.” Labat-Anderson Inc. v. United States, 50 Fed. Cl. 99, 106
(2001).

        This solicitation was for an ID/IQ contract, which calls for the offerors to propose unit
prices for each position required by the RFP as a contract line item (“CLIN”). Offerors also
propose a suggested quantity for each CLIN that they expect will be necessary to fulfill the
contract requirements. The details of the contract requirements for each CLIN are explored
in considerable detail in the Performance Work Statement (the “PWS”) that formed part of
the solicitation. AR Tab 4 at 140-228; see also AR Tab 6 at 277-374 (first amended PWS);
AR Tab 8 at 412-507 (second and final amended PWS). Each offeror was directed to
provide, in its Technical Approach Proposal, detailed information about its staffing plan “that
clearly depicts the total number of productive labor-hours and associated full-time equivalent
(FTE) positions for each proposed labor category crosswalk to each third-level PWS
paragraph in the PWS.” AR Tab 4 at 129. An offeror was required to “address task
requirements to the fourth level of the PWS,” id., and directed to prepare a compliance
matrix for each file in its proposal that would help the JCC-I/A in the source evaluation
process. These compliance matrices were to cross-reference titles of proposal sections,
CLINs, PWS paragraphs, RFP sections, and proposal page numbers and/or sections in order
to assist the SSEB in providing recommendations to the SSA and the SSA in evaluating each
offeror. Id. at 127-28.

        The extensive information available to the SSA allowed for price realism to be
determined in a rational manner. The SSA’s second determination of the competitive range
included a narrative describing each offeror’s price realism. See AR Tab 41 at 2796-2852.
The SSA noted that “the new contracting officer [Lt. Col. Wade] ensured a separate Price
Realism Analysis was performed and documented in a report to me, the Source Selection
Authority (SSA).” Id. at 2792. Seven offerors provided proposals. Of those seven, five
provided prices that were considered realistic (Aegis, ArmorGroup, [                         ], and
plaintiff). Two offerors, [                                     ], did not propose prices that were
realistic. For example, in her analysis of [              ] proposal, the SSA noted that, while
[         ] unit prices were realistic, its total price for the option period was not.

       [           ] . . . . offered price for the option period . . . was considered
       unrealistic. The offered quantity for CLIN 1002AA, SET Members is [ ] less
       than the quantity offered for the base year. SET Teams are an integral part of
       the contract requirement. The SET Team provides security to GRD personnel
       when in-country travel is required. [           ] assumption for [        ] the
       level of effort for this CLIN is unrealistic and demonstrates a lack of
       understanding of the contract requirement.



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AR Tab 41 at 2842. Similarly, in her analysis of [                   ] proposal, the SSA noted
that both its unit prices and total proposed prices were unrealistic because “[t]heir proposed
prices do not include Iraq taxes on wages for Iraqi staff.” Id. at 2851. In both instances
prices were deemed unrealistic when, upon an analysis of the unit prices and the total unit
prices, the SSA determined that prices were not “realistic for the work to be performed,” or
did not “reflect a clear understanding of the requirements,” or were not “consistent with the
unique methods of performance and materials described in the offeror's proposal.” AR Tab
4 at 139.

        By contrast, the SSA determined that Aegis’s, ArmorGroup’s, and plaintiff’s prices
were all realistic. See AR Tab 41 at 2804, 2812, 2835. Plaintiff asserts that the JCC-I/A’s
determination of price realism was improper because it did not engage in a comparison of
Aegis’s or ArmorGroup’s offered unit prices to the unit prices in the Independent
Government Estimate (the “IGE”). Instead, the JCC-I/A multiplied the quantities contained
in the IGE by the monthly unit prices proposed by each offeror on each CLIN. According
to plaintiff, this shows that the record lacked a meaningful price realism analysis. Plaintiff’s
operating premise that a particular analysis was required is not correct. The FAR does not
require agencies to use IGE estimates to determine price realism at all; in fact, it does not
direct agencies to use any particular tool in a price realism analysis. Instead, the FAR
suggests that “independent government cost estimates” may be used in a price analysis
comparison to determine price reasonableness, not price realism. FAR 15.404-1(b)(2)(v).
In any case, consistent with the latitude accorded the agency requesting proposals, the JCC-
I/A structured its solicitation requirements such that offerors would provide sufficient
information for the JCC-I/A to render a rational price realism analysis. See Labat-Anderson,
50 Fed. Cl. at 106 (“[T]he nature and extent of an agency’s price realism analysis are matters
within the agency’s discretion.”).

        Similarly, the JCC-I/A engaged in a price reasonableness analysis that was separate
from its price realism analysis, and this price reasonableness analysis was sufficient.
Whereas the purpose of price realism analysis is to ensure that an offeror understands the
solicitation requirements and actually can perform those requirements prescribed in the PWS
in the manner that it proposes, the purpose of price reasonableness analysis is to ensure that
the offeror’s price is not unreasonably high or unreasonably low. The RFP directed the JCC-
I/A to engage in separate price realism and price reasonable analyses. Plaintiff sees the fact
that the price analysis worksheet was used in both the JCC-I/A’s price realism and price
reasonableness analyses as evidence that the two analyses were not performed separately.
The record does not support this citation of error. The price analysis worksheet merely was
a tool used by the SSA and Contracting Officer to organize intelligently the data provided
by the offerors. Price realism and price reasonableness are two different analyses, but they
necessarily use the same underlying pricing data when applied to a given proposal. The

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second determination of the competitive range reflects that the SSA engaged in both price
realism and price reasonableness analyses and that these analyses were performed separately.

      According to the FAR, one tool to be used in price reasonableness analysis is the
“[c]omparison of proposed prices received in response to the solicitation. Normally,
adequate price competition establishes price reasonableness.” FAR 15.404-1(b)(2)(i)
(emphasis added). Price competition is considered adequate when “[t]wo or more
responsible offerors, competing independently, submit priced offers that satisfy the
Government’s expressed requirement,” and

       (A) [a]ward will be made to the offeror whose proposal represents the best
       value . . . where price is a substantial factor in source selection; and

              (B) There is no finding that the price of the otherwise successful offeror
       is unreasonable. Any finding that the price is unreasonable must be supported
       by a statement of the facts and approved at a level above the contracting
       officer.

FAR 15.403-1(c)(1)(I). In this procurement multiple responsible offerors were competing
independently for a negotiated procurement; all of the proposals satisfied the Government’s
expressed requirements; and five of them were found to have reasonable prices. This is
sufficient for a rational price reasonableness analysis.

       The record reflects that the JCC-I/A engaged in separate price realism and price
reasonableness analyses that were rational and that it performed them pursuant to the RFP’s
requirements.

              2) The comparative price evaluation was meaningful

        Even if the methodologies for the price reasonableness and price realism analyses
were rational, plaintiff alleges that the JCC-I/A’s price evaluation was “irreparably flawed”
because it did not take in to account the varying number of labor hours that each offeror
proposed in a CLIN unit. See Pl.’s Br. filed Aug. 17, 2007, at 5-9. Plaintiff states accurately,
that the contract was an “Indefinite Delivery/Indefinite Quantity (IDIQ) contract” with
“Fixed Price Labor Rate task orders.” Pl.’s Br. filed Aug. 17, 2007, at 5; AR Tab 4 at 105.
Offerors were directed to propose unit prices for each CLIN, for which the relevant unit was
a labor “[m]onth.” See AR Tab 4 at 101-05. The JCC-I/A was to purchase needed quantities
of labor based upon the awardee’s proposed monthly rate. Plaintiff asserts that the RFP,
however, never defined the “number of hours that should be included in calculating an FTE
in the technical proposal or in calculating a ‘quantity’ of 1 in the price proposal.” Pl.’s Br.

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filed Aug. 17, 2007, at 5. Each offeror was directed to provide, in its Technical Approach
Proposal, detailed information about its staffing plan “that clearly depicts the total number
of productive labor-hours and associated full-time equivalent (FTE) positions for each
proposed labor category crosswalk to each third-level PWS paragraph in the PWS.” AR Tab
4 at 129. Each offeror, in its Technical Approach Proposal, then, identified the total number
of productive labor-hours that it expected from a given position on a CLIN by CLIN basis.
See, e.g., AR Tab 61 at 3425-34 (plaintiff’s proposal contemplated between [                ]
productive labor-hours per year for each CLIN); AR Tab 16 at 1161 (Aegis’s proposal
contemplated average of [ ] productive labor-hours per year for each CLIN); AR Tab 17
at 1529-30 (ArmorGroup’s proposal contemplated between [                  ] productive labor-
hours per year for each CLIN).

         On this basis plaintiff contends that JCC-I/A’s comparison of unit prices did not take
into consideration the amount of “hours” that each CLIN ordered would provide. Pl.’s Br.
filed Aug. 17, 2007, at 8. This deficiency precluded the JCC-I/A from “adequately
[comparing] offerors’ unit or ceiling prices without an assessment of the different meanings
regarding ‘quantity’ in each offeror’s price proposal.” Id. Actually, plaintiff’s position
reflects a misunderstanding of the type of contract for which the JCC-I/A was soliciting. It
is true that in a standard time-and-materials or labor-hour contract, the relevant rate of labor
is an hourly rate. See FAR 16.601(a); FAR 16.602. The RFP for the Solicitation, however,
proposed an ID/IQ contract with “Fixed Labor Rate task orders.” AR Tab 4 at 126. As a
consequence, the JCC-I/A was not soliciting bids for an hourly labor rate, but, rather,
soliciting a number of units on a position-by-position basis for a month at a time: when the
agency hired one Security Escort Team member (CLIN 1022AA), AR Tab 4 at 103, it was
not hiring one individual who would work a certain number of productive-labor hours; it was
securing a guarantee from the offeror that the position would be fulfilled according to the
PWS. 6/


       6/ During arguments, defendant’s counsel elaborated:

               With regards to the question of their analysis of hourly rate. The
       problem with that entire argument is that the government was not in the
       solicitation buying hourly rates. It was not buying hourly services. This is a
       fixed price contract based upon monthly units. The government had said that
       it was going to base its comparison upon the unit prices, in other words the
       monthly units in the RFP.

       We know this from looking at the question, not only from the RFP, but it's
       clarified in the second question and answer session, questions 49 and 50 in the
       administrative record.


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       Understood this way, in order to engage in a meaningful apples-to-apples comparison
of each offeror’s unit prices, the JCC-I/A was not required to compare the different
productive labor-hours associated with a particular offeror’s unit prices for a given CLIN.
The JCC-I/A was not buying productive labor-hours at all – it was buying fulfillment of
positions per the PWS. The number of productive labor-hours that a given offeror proposed
for a CLIN unit was certainly relevant in evaluating that offeror’s technical ratings.
Moreover, the JCC-I/A likely considered this number in evaluating the price realism and
reasonableness of a given proposal. However, this has no bearing on the rationality and
reasonableness of the JCC-I/A’s comparative price evaluation. The RFP required that the
SSA compare “unit prices, total proposed prices, performance incentive rates and maximum
performance incentive amounts, for the basic performance period and all option periods.”
AR Tab 4 at 139. The SSA did exactly this. 7/


       6/ (Cont’d from page 22.)

       So the government doesn't care as much how much it's staffed, so long as it's
       staffed in a way that meets the performance work statements requirements.

Tr. at 41-42; see AR Tab 9 at 516 (second round of questions and answers between JCC-I/A
and prospective offerors). Counsel for Aegis echoed this understanding of the contract. As
a matter of contract interpretation, both defendant and Aegis are correct.

               We're simply providing whatever personnel are required to fill this
       position 24 hours a day, seven days a week, taking into account breaks,
       whatever the level of service that's required to do it, relief for meals. In other
       words, you don't send a guard out there and say, okay, if the person is on break
       or taking a meal, then the position is not being filled. It has to be filled 24
       hours a day with no breaks, so however many people it takes to do that. If you
       can do it with two people, shifting them back and forth, that's fine. If it takes
       three, then that's what it takes.

Tr. at 94-95.

      7/ Plaintiff’s argument could be construed as a challenge to the RFP’s evaluation
scheme on one of two grounds. Plaintiff might be suggesting that the fact that offerors
themselves proposed quantities was an inappropriate means to structure a solicitation.
Alternately, plaintiff might be framing a challenge that a solicitation that compared units of
Fixed Labor Rate task orders instead of hourly labor rates was inappropriate. Inasmuch as



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              3) The JCC-I/A’s treatment of incentive fees was not proper, but did not
              prejudice plaintiff.

       The JCC-I/A recognized that certain aspects of its solicitation required the utmost
level of care and performance. It acknowledged that “[a] margin of error may be tolerable
in a normal operating environment,” but that “the contractor will be performing services in
a combat zone with higher overall risk.” AR Tab 4 at 118. In particular, the JCC-I/A noted
that

       [c]ertain areas of risk are considered to be highest; where the consequences of
       failure are loss of life due to unsafe acts or inaccurate threat assessments. In
       these high risk areas, the standard of performance cannot be less than 100%;
       in effect a zero tolerance for failure to meet the standard.

Id. To help encourage offerors to meet this high level of performance, the contract included,
in section H.10, a “Risk Incentive Plan.” Id. Under the terms of this plan, offerors were
directed to propose incentive rates and maximum incentive amounts for the CLINs
corresponding to Security Escort Team Members and Reconstruction Liason Team Members
– those security personnel that would be responsible for guarding GRD units engaging in
active operations. Id. at 119. Performance would be evaluated every month during the base
year and every quarter during the option year. If the awardee met a 100% standard of
performance for these CLINs for a given period, it would receive a payment of the
performance incentive amount, calculated by

       multiplying the applicable performance incentive rate by the invoiced amount
       for the applicable CLIN for the performance period. No performance incentive



       6/ (Cont’d from page 23.)

plaintiff’s argument could be construed as the latter challenge to the terms of the solicitation,
it is not timely. The Federal Circuit established that challenges to the terms of a solicitation
must be raised prior to the closing date for receipt of proposals. See Blue & Gold Fleet, L.P.
v. United States, ___ F.3d ____, 2007 WL 1815678, at *3 (Fed. Cir. 2007) (“We also hold
that a party who has the opportunity to object to the terms of a government solicitation
containing a patent error and fails to do so prior to the close of the bidding process waives
its ability to raise the same objection subsequently in a bid protest action in the Court of
Federal Claims.”).


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       will be calculated if the performance incentive amount will exceed the
       maximum performance incentive amount. Performance incentive will be
       payable at the end of the base contract (ID/IQ) period of performance and at
       the end of the option period (as applicable).

Id.

         Offerors were to propose incentive rates and maximum incentive amounts as CLINs
0010, 0011, 1010, and 1011. ArmorGroup, as an example, proposed an incentive rate of []
 for each of these four CLINs. Plaintiff took a different approach. In its price proposal file,
it took exception to these performance incentives because it “view[ed] this underlying
commitment as a [ ] and therefore not subject to the [                                 ].” AR
Tab 66 at 3633. Although it planned “fully and actively [to] participate in the Quality
Assurance Surveillance Plan in conjunction with” the JCC-I/A and GRD, plaintiff advised
that it did not need a performance incentive to encourage it to maintain a 100% performance
rate, and so it declined such an incentive. See id. at 3640 (proposing “[ ]” for incentive rate
and [                                ] amount in all four relevant CLINs).

       Plaintiff entered [     ] for these CLINs, pursuant to section L.10.3.3. of the RFP,
which instructed offerors on how to complete section B of the contract, the pricing table to
be included in their pricing file:

              Section B (Supplies or Services and Price/Costs) - SECTION B shall
       be submitted fully completed and error free. It shall contain the offeror’s
       prices performance incentive rates and maximum performance incentive
       amounts for the established Contract Line Item Numbers (CLlNS) set forth in
       that section.

              The offeror is cautioned to complete all blanks to identify any CLIN not
       priced as "Not Separately Priced" or "N/A" as applicable.

AR Tab 4 at 133. Plaintiff noted its exception to the performance incentive rate pursuant to
section L.10.3.1. of the RFP, which instructed offerors to include in their price files “[an]
[i]dentification and explanation of any exceptions or deviations.” Id.

       The JCC-I/A, in its second comparative range determination, did not agree with
Erinys’s interpretation. It elaborated:

              Erinys’[s] proposal contained a major deficiency: failure to accept all
       the terms and conditions of the RFP by refusing to propose performance

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       incentives. Erinys’[s] price proposal took exception to the government’s Risk
       Incentive Plan outlined in clause H.10 In Erinys’[s] Price Proposal Volume
       VI.1.2, Erinys in their own words “[
                                                                       ].” By taking
       exception to a mandatory provision in the solicitation Erinys makes their
       proposal unawardable absent a modification to the solicition on the part of the
       government or an opportunity to amend their proposal . . . . Erinys was
       excluded from the competitive range because their proposal is unawardable
       without modifying the solicitation or a significant change to their proposal.

AR Tab 41 at 2835.

        Plaintiff asserts that the RFP allowed an offeror to take exception to a term pursuant
to section L.10.3.1. of the RFP and that it was allowed to fill the performance incentive
CLINs with “n/a” because it was not separately pricing them; indeed, plaintiff was not
pricing them at all. The JCC-I/A instead views this approach to pricing an incentive fee as
a major deficiency. Curiously, the JCC-I/A did not make the same finding during the first
competitive range determination, even though nothing in plaintiff’s proposal nor the
solicitation changed, and the performance incentive was not the subject of any aspect of
Erinys I.

        More curious still, Aegis also failed to propose an incentive rate. It completed the
incentive rate portion of CLINs 0010, 0011, 1010, and 1011, as follows: “[
                                              ].” AR Tab 16 at 1456. Aegis expressed a view
on the performance incentives similar to plaintiff’s: “Aegis believes it must always achieve
a 100% record in support of the safety and security of Government employees as well as its
own staff.” While Aegis did not take exception to any portion of the RFP in its pricing file,
it did not propose an incentive rate, either, instead completing that CLIN block with an “[ ]”
value. In its explanation in section 6.4.1. of its price file, Aegis made an alternative proposal
to insert a price:

              Aegis fully accepts and supports the concept of Performance Based
       Acquisition and appreciates the goals and objectives set out in this acquisition
       strategy as employed by the USACE on the RSSS Solicitation.

              However on the basis that Aegis believes it must always achieve a
       100% record in support of the safety and security of Government employees
       as well as its own staff Aegis proposes an alternative approach, which it
       believes is entirely in the spirit of an incentive based scheme.



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              Aegis would like to suggest that if the Government is satisfied, on a
       quarterly review of overall performance, that its mission is being enhanced and
       achieved through Aegis’s direct contribution that the Government considers
       [
                                     ]. This would allow more of the [
                         ], currently being implemented to be funded [

                     ]. If, under the FAR the Government is obliged to pay such
       monies to Aegis direct, Aegis commits itself to [         ] into the Aegis
       [                      ] fund as designated funds to be [
                 ] in support of Reconstruction.

Id. at 1457. In the second competitive range determination, the SSA did not consider Aegis’s
failure to propose an incentive rate to be a deficiency.

        The SSA’s narrative suggests that the incentive rate was a mandatory term in that the
RFP absolutely required offerors to propose an incentive rate. If this is the case, neither
plaintiff nor Aegis proposed an incentive rate, and so it was arbitrary and capricious to find
plaintiff deficient for failing to propose an incentive rate, but not to find Aegis deficient for
doing the same. In the alternative, if the term is not mandatory, and plaintiff properly
excepted to the term and filled the performance incentive rate with “n/a”, the JCC-I/A had
no rational basis to find plaintiff deficient for doing so, while finding Aegis not deficient.
The incentive rate term is either a mandatory term or it is not a mandatory term. In either
case, however, the SSA’s action remained arbitrary, capricious, and without rational basis.

       In order to succeed on the merits, plaintiff would have to show that not only was this
action arbitrary and capricious or without rational basis, but also that it prejudiced plaintiff.
Under the circumstances, while the SSA’s description of plaintiff’s proposal as deficient was
maladroit, the record indicates that it did not prejudice plaintiff in any way. As noted earlier
in section II.3.1), supra, the SSA acknowledged that it excluded plaintiff from the
competitive range solely based on price. For this reason the record reflects that plaintiff did
not suffer prejudice from the SSA’s arbitrary and capricious treatment of the
incentive rates. 8/


       8/ Even assuming, arguendo, that the incentive rate was a mandatory term, the
absence of a mandatory term does not necessarily requires exclusion from the competitive
range. If the term is considered mandatory, Aegis’s proposal, for example, would be
deficient in the sense that Aegis could not be awarded the contract as it stands. However,
deficiencies only preclude award of the contract, not exclusion from the competitive range.
Once included in the competitive range, such minor deficiencies are the subject of
discussions between the agency and an offeror. See FAR 15.306(d); see also II.2. supra.

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III. Other factors to support an injunction

        Besides (1) success on the merits, injunctive relief requires a plaintiff to demonstrate
that (2) it will suffer irreparable harm if injunctive relief is not granted; (3) the harm to
plaintiff if an injunction is not granted outweighs the harm to the Government if an
injunction is granted; and (4) the injunction is not against the public interest. PGBA, 389
F.3d at 1228-29; FMC, 3 F.3d at 427.

       Plaintiff has shown irreparable harm. “An action at law only allows recovery of ‘bid
preparation costs in a suit for damages, but not loss of anticipated profits,’ leaving a bid
protestor irreparably harmed.” Bannum Inc. v. United States, 60 Fed. Cl. 718, 730 (2004)
(quoting Essex Electro Eng’rs, Inc. v. United States, 3 Cl. Ct. 277, 298 (1983), aff’d, 757
F.2d 247 (Fed. Cir. 1985)). The balance of harms, however, weighs in favor of the JCC-I/A
and Aegis, which should not be delayed when plaintiff has no chance of success on the
merits. 9/

       Finally, the court must consider whether an injunction would be in the public’s
interest. This determination implicates matters of national defense and national security in
providing relief. 28 U.S.C. § 1491(b)(3) (“[T]he court[] shall give due regard to the interests
of national defense and national security and the need for expeditious resolution of the
action.”) The Federal Circuit had occasion to consider the meaning of 28 U.S.C. §1491(b)(3)
in PGBA, 389 F.3d 1219, concluding that “section 1491(b)(3) merely instructs courts to give
due regard to the issue of national defense and national security in shaping relief.” Id.
Defendant has made no showing on point.

        Considering the public interest in the context of awarding government contracts,
however, plaintiff has not proved that an injunction would be in the public interest. The JCC-
I/A made a rational decision that complied with all applicable regulations and excluded
plaintiff from the competitive range based on price considerations. Moreover, defendant has
shown that consolidating the two existing RSSS contracts could provide “economies of scale
for indirect costs such as safety, training, QA, HR, logistics, etc.” AR Tab 1 at 8. The JCC-
I/A also predicted that consolidating the contracts would allow for easier administration of
the reconstruction security support services and that “[f]ull and open competition [between
offerors] may realize some reduction from current prices.” Id. Plaintiff quibbles with this



        9/ During oral argument, defendant conceded that “the government is in a position
to cover the contract if the need be. To basically cover, if there’s an injunction and the
solicitation needs to be redone, the government can cover these services.” Tr. at 57.

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position, but the court deems the agency acted reasonably and expects, as a general
proposition, economies of scale in consolidating the two contracts, especially when the new
format is fixed-price, not time-and-materials. The proposals by Aegis and ArmorGroup
selected for inclusion in the competitive range are significantly less costly than plaintiff’s.

                                      CONCLUSION

      Based on the foregoing, defendant’s and Aegis’s cross-motions for judgment on the
administrative record are granted, and plaintiff’s cross-motion for judgment on the
administrative record is denied. Accordingly,

       1. The Clerk of the Court shall enter judgment for defendant and intervenor Aegis.

       2. By September 12, 2007, the parties shall identify by brackets any material subject
to redaction before the opinion issues for publication.

       IT IS SO ORDERED.

       No costs.


                                                 s/ Christine O.C. Miller
                                           ___________________________________
                                                 Christine Odell Cook Miller
                                                 Judge




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